Case: 1:09-cr-00510-SO Doc #: 178 Filed: 05/13/10 1 of 3. PageID #: 1937




                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION


UNITED STATES OF AMERICA,                  )      CASE NO. 1:09CR510
                                           )
              PLAINTIFF,                   )      JUDGE PETER C. ECONOMUS
                                           )
       V.                                  )
                                           )
VALENTINA DENISOVA,                        )      MEMORANDUM OPINION
SONYA HILASZEK,                            )      AND ORDER
IVAN VOLOCHIY,                             )
JAHONGIR MASUDOV,                          )
                                           )
              DEFENDANTS.                  )


       This matter is before the Court upon Magistrate Judge Kenneth S. McHargh’s

Reports and Recommendations that the Court accept Defendants Valentina Denisova,

Sonya Hilaszek, Ivan Volochiy, and Jahongir Masudov’s (“the Defendants”) pleas of

guilty and enter findings of guilty against the Defendants. (Dkt. # 112, 143, 149, 156).

       On November 23, 2009, the Government filed an Indictment against the

Defendants. (Dkt. # 12). On February 22, April 5, and April 7, 2010, this Court

issued orders assigning this case to Magistrate Judge McHargh for the purposes of

arraignment and receiving the guilty pleas of Defendants Valentina Denisova,

Jahongir Masudov, and Sonya Hilaszek and Ivan Volochiy, respectively. (Dkt. # 93,

128, 131).

       On March 10, April 13, April 14, April 15, and 2010, hearings were held in
Case: 1:09-cr-00510-SO Doc #: 178 Filed: 05/13/10 2 of 3. PageID #: 1938




which Defendants Valentina Denisova, Jahongir Masudov, Sonya Hilaszek, and

Ivan Volochiy each entered pleas of guilty to Count One of the Indictment,

conspiracy to unlawfully produce identification documents and false identification

documents, in violation of 18 U.S.C. § 1028(f), 18 U.S.C. § 1028(b)(1)(A)(ii), and

18 U.S.C. § 1028(b)(1)(B).

       Magistrate Judge McHargh received the Defendants’ guilty pleas and issued

Reports and Recommendations (“R&R’s”) recommending that this Court accept the

Defendants’ pleas and enter findings of guilty. (Dkt. # 112, 143, 149, 156). None of

the parties objected to Magistrate Judge McHargh’s R&R’s in the fourteen (14) days

following the issuance of each R&R.

       On de novo review of the record, Magistrate Judge McHargh’s R&R’s are

adopted. (Dkt. # 112, 143, 149, 156). The Defendants were each found to be

competent to enter a plea. The Defendants understood their constitutional rights.

They were aware of the consequences of entering a plea. There is an adequate

factual basis for the pleas. The Court finds that the pleas were entered knowingly,

intelligently, and voluntarily. The Defendants’ pleas of guilty are approved.

       Therefore, Defendants Valentina Denisova, Sonya Hilaszek, Ivan Volochiy,

and Jahongir Masudov are adjudged guilty of violating 18 U.S.C. § 1028(f), 18

U.S.C. § 1028(b)(1)(A)(ii), and 18 U.S.C. § 1028(b)(1)(B).

       Sentencing hearings will be held for Ivan Volochiy on May 17, 2010 at 10:00

a.m, for Valentina Denisova on May 17, 2010 at 10:30 a.m, for Jahongir Masudov
Case: 1:09-cr-00510-SO Doc #: 178 Filed: 05/13/10 3 of 3. PageID #: 1939




on July 20, 2010 at 9:00 a.m., and Sonya Hilaszek on July 20, 2010 at 9:30 a.m.

      IT IS SO ORDERED.

                                  /s/ Peter C. Economus - May 13, 2010
                                  PETER C. ECONOMUS
                                  UNITED STATES DISTRICT JUDGE
